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B 210A (Form 210A} (12/09)

UNITED STATES BANKRUPTCY COURT

In re Powell-Gillard, Cahterine ; Case No. _16-31221

TRANSFER OF CLAIM OTHER THAN FOR SECURITY

A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111(a). Transferee
hereby gives evidence and notice pursuant to Rule 3001(e)(2), Fed. R. Bankr. P., of the transfer, other
than for security, of the claim referenced in this evidence and notice.

Linear Mortgage, LLC
Name of Transferee

Name and Address where notices to transferee

should be sent:
1970 Main Street Suite 201

Sarasota, FL 34236

Phone: 941 365 1518
Last Four Digits of Acct #: 7118

Name and Address where transferee payments
should be sent (if different from above):

Phone:

Neighborhood Lending Services

Last Four Digits of Acct #:

Name of Transferor

Court Claim # (if known): 10

Amount of Claim: $73,374.52
Date Claim Filed: 02/09/2017
Phone:

Last Four Digits of Acct. #:

Boi ED
UNITED STATES BANKAUPTEY COURT
NORTHERN DISTRICT OF ILLINOIS

MAY 17 2019

JEFFREY FP. ALLSTEABT, CLERK

INTAKE 2

I declare under penalty of perjury that the information provided in this notice is true and correct to the

best of my knowledge and belief.

By: a

Transferee/Transferee’s Agent

Date: LO “BaG-\8

Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. 88 152 & 3571.
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Docff. 1816128482 Fee: $52.00
Karen A. Yarbrough
Cack County Recorder of Deads
Date: 05/31/2018 01:34 PM Pg: tof 3
RECORDING REQUESTED BY/RETURN TO:
ELS Managemen! Services X LLC
100 Quentin Roosevelt Bivd #204
Garden City, NY 11530

Loan No.: 1423330586
MIN No.:

SPACE ABOVE THIS LINE FOR RECORDER'S USE
ASSIGNNIENT OF MORTGAGE

For value received, Wilmington Savings Fund Society, FSB d/b/a Christiana Trust as Trustee for PNPMS Trust
1 herein “Assignor”} whose address is 100 Quentin Roosevell Bivd, #204, Garden City, NY 11530, dees hereby grant,
assigns, transter and convey, unto
Veancer Mactgaie LG

its successors and assigns (herein “Assignes"), whose address is

LONG Wows St Broa Sovasata C\ S42 Se
a certain Mortgage 7/49/2006 made and executed by Gathering A Powell, Unmarried to and in favor of
Neighborhood Lending Services, inc. upon the following described property situated in Cook County, State of
Hinois:

Property Address: 426 West 96" Street, Chicago, tL 60628
Assessors/Tax Id Mo. 25694070370000
Legal: See attached Exhibit A

Such Mortgage having been given to secure payment of $57,880.00 (orginal principal amount), which Mortgage is of
record on 6/16/2006 as, Document No. 0622842048, of tha Records of the Office of the Register of Deeds of Cook
County, State of Iltinels together with the debt instrument and obligations therein described and the money due and
to become due thereon with interest, and all rights accrued of to accrue under such Mortgage.

TO HAVE AND TO HOLD the samme unto Assignee, its successor and assigns, forever, subject only to the teans and
conditions of the above-described Mortgage.

IN WITNESS WHEREOF, the undersigned Assignor has executed this Assignment of Morigage on_|¢ "DO -1 2

Wilmington Savings Fund Society, FSB d/b/a Christiana Trust as Trustee for PNPMS Trust!
By: CAMS Ventures LLC

By: ae Nap

ivan Halpern, Vice President

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United States Bankruptcy Court
Northern District of Illinois Jeffrey P. Allsteadt, Clerk of Court

Linear Mortgage Date: 05/17/2019

PO Box 2420
Sarasota, FL 34230

Letter to Filer: Case Number, if applicable: 16-31221

Case Name, if applicable: | Catherine Gillard-Powell

RETURN CHECK /MONEY ORDER/CASHIER’S CHECK
|| Unsigned
Debtor(s) or Company check unacceptable

|| No fee is required
OTHER: Please refer to last page - ADDITIONAL INFORMATION section.

NEW BANKRUPTCY CASE
We were unable to process your case because the following documents are missing and required at case opening:

Voluntary Petition (Official Form 101 or 201)

No form of payment (one of the following is required}

- Full Filing Fee

-  Application/Order for Individuals to Pay the Filing Fee in Installments (Official Form 103A)
-  Application/Order to Have the Chapter 7 Filing Fee Waived (Official Form 1038)

[ | OTHER: Please refer to last page — ADDITIONAL INFORMATION section.

CORRECTION(S) REQUIRED

[| Alias Summons:

[| Amended Adversary Complaint:
[| Adversary Proceeding Coversheet:

[ | Amended Petition to Correct:
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Letter to Filer — Page 2

[| Motion to Redact and Proposed Order’

[ OTHER: Please refer to ADDITIONAL INFORMATION section below.

DEFICIENCY ~ Please make ali necessary corrections to the document(s) listed below:

Amended Schedule/List of Creditors is deficient for payment. Please submit payment.

Motion is deficient for payment. Please submit payment.
Notice of Motion — please complete and submit.
Proposed Order — please complete and submit.

OTHER: Please refer to ADDITIONAL INFORMATION section below.

INFORMATION

[ CREDIT BUREAU — The bankruptcy court does NOT perform any activities with the credit bureaus. You must contact the
individual credit bureaus for their procedure for removing your bankruptcy filing from their credit report.

[| No record of the case name or number exists in our court; therefore we cannot process your request and we're returning
the enclosed documents to you.

[| Case name/number is missing. Please provide the case name/number.

[| There are several debtors listed. Please provide the correct case number.

ADDITIONAL INFORMATION:

Transfer of Claim is Deficient for payment of the filing fee.

Company Checks are an unacceptable form of payment. Therefore the check is being returned.
Acceptable forms of payment via mail are: Money Orders and Cashiers Checks only.

Please submit your $25.00 payment in one of the acceptable forms.

Thank you for your consideration

* a motion to redact personal information prohibited under Fed.R. Bankr. P. 9037(A)} should be filed without notice of motion and without serving

other parties. The motion must be accompanied by a redacted version of the filed document and a proposed order requiring the clerk to substitute
the redacted document for the un-redacted document. A proposed order can be found on the courts website http://www.ilnb.uscourts.gov under
Forms/Local Bankruptcy Forms titled Order to Redact. We are attaching a sample of the order.

IF APPLICABLE
Include the name of the debtor/joint debtor, the case number, the signature of the debtor/joint debtor on all required documents.

Include the signature of the attorney representing the debtor/joint debtor.
FORM OF PAYMENT REQUIREMENT — Cashier's check or money order payable to Clerk, U. S. Bankruptcy Court.

Mail the required document(s) or payment listed above, including this Letter to my attention at:
United States Bankruptcy Court, Eastern Division, 219 S. Dearborn, Chicago, IL 60604

Deputy Clerk Carlos R. Patterson li

Contact Number 312-408-5000

Updated: 14/22/2017
